Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 1 of 8

                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WISCONSIN

                        CASE NO. 17-CV-823




CONSUELA SMITH-WILLIAMS, FRED
RIVERS, RICHARD MURPHY, ROBERT
RISTOW, ROGER SUHR, and
SALVADOR FUENTES, individually,
and on behalf of all similarly
situated,

      Plaintiffs,

v.

THE UNITED STATES OF AMERICA,

     Defendant.
__________________________________/




               DEPOSITION OF FRANK MARCANTONIO

      witness in the above-entitled action, taken
      under the Federal Rules of Civil Procedure,
      before Mary P. Hader, Registered Professional
    Reporter and Notary Public in and for the State
 of Wisconsin, at the Tomah VA Medical Center, 500 East
  Veterans Street, Building 408, Conference Room 3815A,
 Tomah, Wisconsin, on September 25, 2018, commencing at
         10:30 a.m. and suspended at 10:34 a.m.




REPORTED BY:
Mary P. Hader, CSR, RPR
    Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 2 of 8

                                 Marcantonio, Frank          09-25-2018
                                               2                                                                4

 1          APPEARANCES OF COUNSEL                 1                INDEX OF EXHIBITS
 2 ON BEHALF OF THE PLAINTIFFS:
 3   THE DOWNS LAW GROUP - MIAMI-DADE OFFICE       2 EXHIBITS            DESCRIPTION                 PAGE
     ATTORNEY WILLIAM T. REIDER, JR.               3 (NO EXHIBITS MARKED)
 4   3250 Mary Street, Suite 307                    4
     Coconut Grove, FL 33133
                                                    5
 5
                                                    6
   ON BEHALF OF THE DEFENDANT:
 6
                                                    7
     U.S. DEPARTMENT OF JUSTICE                     8
 7   UNITED STATES ATTORNEY'S OFFICE                9
     ATTORNEY DAVID D. CONWAY                      10
 8   ASSISTANT UNITED STATES ATTORNEY              11
     Western District of Wisconsin                 12
 9   222 West Washington Avenue, Suite 700         13
     Madison, WI 53703                             14
10                                                 15
   ON BEHALF OF THE WITNESS:                       16
11                                                 17
     BROWNELL LANDRIGAN, P.C.                      18
12   ATTORNEY CHRISTOPHER LANDRIGAN                19
     1818 N Street, N.W., Suite 520                20
13   Washington, DC 20036                          21
14                                                 22
15                                                 23
16                                                 24
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 1           INDEX OF EXAMINATION                  1          DEPOSITION OF FRANK MARCANTONIO
 2 WITNESS NAME: Frank D. Marcantonio              2                SEPTEMBER 25, 2018
                              PAGE                 3 THEREUPON:
 3 DIRECT EXAMINATION                              4            FRANCIS D. MARCANTONIO,
      BY Mr. Reider                   5            5 having been called as a witness herein, being first duly
 4
                                                   6 sworn, was examined and testified as follows:
 5
 6                                                 7                DIRECT EXAMINATION
 7                                                 8 BY MR. REIDER:
 8
 9                                                 9     Q    Please state your full name for the record.
10                                                 10    A   Frank D. Marcantonio.
11                                                 11    Q    Thank you. And your address?
12
13                                                 12    A
14                                                 13    Q    Thank you. And your date of birth?
15                                                 14    A
16
17                                                 15    Q    Are you represented by counsel here today?
18                                                 16    A   Yes.
19
                                                   17    Q    Okay. Are you currently employed?
20
21                                                 18    A   On the advice of counsel --
22                                                 19        MR. LANDRIGAN: I'll object. I'll advise my
23
24                                                 20    client to assert his Fifth Amendment rights and
25                                                 21    instruct him not to answer the question.
                                                   22        THE WITNESS: On the advice --
                                                   23        MR. REIDER: Just to be clear here, you're
                                                   24    instructing him not to answer the question as to
                                                   25    whether or not he's currently employed?
     Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 3 of 8

                                        Marcantonio, Frank                09-25-2018
                                                            6                                                              8

 1        MR. LANDRIGAN: Yes.                                    1    not to answer the question.
 2 BY MR. REIDER:                                                2 BY MR. REIDER:
 3    Q    Okay. Dr. Marcantonio, were you ever employed         3    Q    Have you been placed under arrest by State or
 4 at the Tomah VA Medical Center?                               4 Federal authorities?
 5        THE WITNESS: On the advice --                          5        MR. LANDRIGAN: I object; advise my client to
 6        MR. LANDRIGAN: I object and advise my client           6    assert his Fifth Amendment rights and instruct him
 7    to assert his Fifth Amendment rights and instruct          7    not to answer the question.
 8    him not to answer the question.                            8 BY MR. REIDER:
 9        THE WITNESS: On the advice --                          9    Q    Have criminal charges been filed against you?
10        MR. REIDER: Are you objecting or are you              10        MR. LANDRIGAN: I object; advise my client to
11    asserting a privilege?                                    11    assert his Fifth Amendment rights and instruct him
12        MR. LANDRIGAN: Both.                                  12    not to answer the question.
13        MR. REIDER: Okay. Well, what's the basis of           13 BY MR. REIDER:
14    the objection?                                            14    Q    Have you been contacted by criminal
15        MR. LANDRIGAN: The objection is still                 15 investigators?
16    related. It's asserting his Fifth Amendment rights        16        MR. LANDRIGAN: I object; advise my client to
17    and instructing him not to answer the question.           17    assert his Fifth Amendment rights and instruct him
18 BY MR. REIDER:                                               18    not to answer the question.
19    Q    Okay. Is Dr. Marcantonio's intention -- I'm          19 BY MR. REIDER:
20 asking you, Dr. Marcantonio -- is your intention to          20    Q    Are you willing to answer any questions, any
21 answer any questions here today?                             21 substantive questions about your supervision of
22    A   On the advice of counsel --                           22 Dr. Schiller?
23        MR. LANDRIGAN: I would advise him that any --         23        MR. LANDRIGAN: I object; advise my client to
24    as we talked about, as his counsel, apart from            24    assert his Fifth Amendment rights and instruct him
25    identifying information about his name, address,          25    not to answer the question.


                                                            7                                                              9

 1    date of birth, any substantive questions I would           1 BY MR. REIDER:
 2    advise my client to assert his Fifth Amendment             2    Q    Are you willing to answer any substantive
 3    rights and instruct him not to answer the question.        3 questions about the hiring of Dr. Schiller?
 4 BY MR. REIDER:                                                4        MR. LANDRIGAN: I object; advise my client to
 5    Q    Dr. Marcantonio, are you currently the subject        5    assert his Fifth Amendment rights and instruct him
 6 of a criminal investigation?                                  6    not to answer the question.
 7        MR. LANDRIGAN: I object; advise my client to           7 BY MR. REIDER:
 8    assert his Fifth Amendment rights and instruct him         8    Q    Are you willing to answer any substantive
 9    not to answer the question.                                9 questions about the intentions of Dr. Schiller?
10 BY MR. REIDER:                                               10        MR. LANDRIGAN: I object; advise my client to
11    Q    Have you previously been the subject of a            11    assert his Fifth Amendment rights and instruct him
12 criminal investigation?                                      12    not to answer the question.
13        MR. LANDRIGAN: I object; advise my client to          13        MR. REIDER: Okay. At this point, I'm going
14    assert his Fifth Amendment rights and instruct him        14    to go ahead and suspend the deposition and I'm
15    not to answer the question.                               15    going to file a motion to compel and -- okay, I'm
16 BY MR. REIDER:                                               16    going to suspend the deposition at this point; I'm
17    Q    Have you been called before a grand jury to          17    not terminating it. I'm just going to suspend it
18 testify?                                                     18    and we're going to go talk to the judge and see
19        MR. LANDRIGAN: I object; advise my client to          19    what he wants us to do.
20    assert his Fifth Amendment rights and instruct him        20        MR. LANDRIGAN: Okay. Understood.
21    not to answer the question.                               21        Thanks.
22 BY MR. REIDER:                                               22        MR. REIDER: We're off the record.
23    Q    Have you been indicted by a grand jury?              23        (Whereupon, the deposition of Francis D.
24        MR. LANDRIGAN: I object; advise my client to          24        Marcantonio was suspended.)
25    assert his Fifth Amendment rights and instruct him        25
     Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 4 of 8

                                         Marcantonio, Frank        09-25-2018
                                                              10

 1             CERTIFICATE OF REPORTER
 2 UNITED STATES DISTRICT COURT
 3 WESTERN DISTRICT OF WISCONSIN
 4
 5     I, Mary P. Hader, CSR and Registered
   Professional Reporter, certify:
 6 That the foregoing proceedings were taken before me at
   the time and place therein set forth, at which time the
 7 witness was put under oath by me;
   That the testimony of the witness, questions propounded,
 8 and all objections and statements made at the time of
   the examination were recorded stenographically by me and
 9 thereafter transcribed; That a review of the transcript
   by the deponent was waived; That the foregoing is a true
10 and correct transcript of my shorthand notes so taken.
   I further certify that I am not a relative or employee
11 of any attorney of the parties, not financially
   interested in the action.
12
       I declare under penalty of perjury under the laws
13 of Wisconsin that the foregoing is true and correct.
14
       Dated this 10th day of OCTOBER, 2018.
15
16
17
18
19
20
21 __________________________
   Mary P. Hader, CSR, RPR
22
23
24
25
        Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 5 of 8

              Marcantonio, Frank      09-25-2018         Page 1 of 4

      1                8 5:14                any 6:21,23
10:30 1:19                                     7:1 8:20                    C
                             A                 9:2,8 10:11          called 5:5
10:34 1:19
                       a.m 1:19                                       7:17
                                             apart 6:24
10th 10:14                                                          CASE 1:2
                       about 6:24,25         APPEARANCES
17-CV-823 1:2                                                       Center 1:18
                         8:21 9:3,9            2:1
1818 2:12              above-entitled                                 6:4
                                             arrest 8:3
1952 5:14                1:16                                       CERTIFICATE
                                             asking 6:20
                       action 1:16                                    10:1
      2                                      assert 5:20
                         10:11                                      certify
20036 2:13                                     6:7
                       address 5:11                                   10:5,10
                                               7:2,8,14,20,2
2018 1:19 5:2            6:25                  5                    charges 8:9
  10:14                                        8:6,11,17,24
                       advice 5:18,22                               CHRISTOPHER
220 5:12                 6:5,9,22              9:5,11                 2:12
222 2:9                advise 5:19           asserting              Civil 1:16
                         6:6,23                6:11,16
25 1:19 5:2                                                         clear 5:23
                         7:2,7,13,19,2       ASSISTANT 2:8
                         4                                          client 5:20
      3                                      attorney                 6:6
                         8:5,10,16,23
307 2:4                                        2:3,7,8,12             7:2,7,13,19,2
                         9:4,10
3250 2:4                                       10:11                  4
                       against 8:9
                                             ATTORNEY'S 2:7           8:5,10,16,23
33133 2:4
                       ahead 9:14                                     9:4,10
                                             authorities
3815A 1:18
                       all 1:7 10:8            8:4                  Coconut 2:4

      4                am 10:10              Avenue 2:9             commencing
408 1:18               Amendment 5:20          5:12                   1:19
                         6:7,16                                     compel 9:15
        5                7:2,8,14,20,2             B
                                                                    Conference
5 3:3                    5                   basis 6:13
                                                                      1:18
                         8:6,11,17,24        before 1:17
500 1:18                 9:5,11                                     CONSUELA 1:5
                                               7:17 10:6
520 2:12               AMERICA 1:10                                 contacted 8:14
                                             behalf 1:7
53703 2:9              answer 5:21,24          2:2,5,10             CONWAY 2:7
                         6:8,17,21           birth 5:13 7:1         correct
      7                  7:3,9,15,21                                  10:10,13
700 2:9                  8:1,7,12,18,2       Both 6:12
                                                                    counsel 2:1
                         0,25                BROWNELL 2:11
                                                                      5:15,18
        8                9:2,6,8,12
                                             Building 1:18            6:22,24
      Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 6 of 8

              Marcantonio, Frank    09-25-2018         Page 2 of 4
COURT 1:1 10:2       employed              full 5:9
                       5:17,25 6:3                                       I
criminal                                   further 10:10
                                                                  identifying
  7:6,12 8:9,14      employee 10:10
                                                                    6:25
CSR 1:25             examination                 G
                                           go 9:14,18             I'll 5:19
  10:5,21              3:1,3 5:7
                       10:8                going                  I'm 6:19
currently
                                             9:13,15,16,17          9:13,14,15,16
  5:17,25 7:5        examined 5:6
                                             ,18                    ,17
                     EXHIBITS
      D                                    grand 7:17,23          INDEX 3:1 4:1
                       4:1,2,3
date 5:13 7:1                              GROUP 2:3              indicted 7:23
Dated 10:14                F                                      individually
                                           Grove 2:4
DAVID 2:7            Federal 1:16                                   1:6
                       8:4                                        information
day 10:14                                         H
                     Fifth 5:20            Hader 1:17,25            6:25
DC 2:13                6:7,16                10:5,21              instruct 5:21
declare 10:12          7:2,8,14,20,2                                6:7
                                           Have
                       5                                            7:3,8,14,20,2
Defendant 1:11                               7:11,17,23
                       8:6,11,17,24                                 5
  2:5                                        8:3,9,14
                       9:5,11                                       8:6,11,17,24
DEPARTMENT 2:6                             having 5:5
                     file 9:15                                      9:5,11
deponent 10:9                              he 9:19
                     filed 8:9                                    instructing
deposition                                 here 5:15,23             5:24 6:17
                     financially
  1:15 5:1                                   6:21
                       10:11                                      intention
  9:14,16,23
                     first 5:5             herein 5:5               6:19,20
DESCRIPTION
                     FL 2:4                he's 5:25              intentions 9:9
  4:2
                     follows 5:6           him 5:21,24            interested
DIRECT 3:3 5:7
                                             6:8,17,23              10:11
District 1:1         foregoing               7:3,8,14,20,2        investigation
  2:8 10:2,3           10:6,9,13             5                      7:6,12
DOWNS 2:3            forth 10:6              8:6,11,17,24
                                             9:5,11               investigators
Dr 6:3,19,20         Francis 5:4                                    8:15
  7:5 8:22             9:23                hiring 9:3
                                                                  It's 6:16
  9:3,9              Frank 1:15 3:2        his 5:20
duly 5:5               5:1,10                6:7,16,24,25
                                                                           J
                                             7:2,8,14,20,2
                     FRED 1:5                                     JR 2:3
      E                                      5
                     from 6:24               8:6,11,17,24         judge 9:18
East 1:18
                     FUENTES 1:6             9:5,11
      Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 7 of 8

              Marcantonio, Frank    09-25-2018          Page 3 of 4
jury 7:17,23           7:2,7,13,19,2         6:3,13,19             7:3,9,15,21
just 5:23 9:17         4                     9:13,15,20            8:1,7,12,18,2
                       8:5,10,16,23        on 1:7,19               5 9:6,12
JUSTICE 2:6            9:4,10 10:10          2:2,5,10             questions 6:21
                                             5:18,22                7:1 8:20,21
       L                   N                 6:5,9,22               9:3,9 10:7
LANDRIGAN            N.W 2:12
  2:11,12 5:19
                     name 3:2 5:9                P                       R
  6:1,6,12,15,2
                       6:25                P.C 2:11               record 5:9
  3
                     NO 1:2 4:3            PAGE 3:2 4:2             9:22
  7:7,13,19,24
  8:5,10,16,23       North 5:12            parties 10:11          recorded 10:8
  9:4,10,20                                                       Registered
                     not 5:21,24,25        penalty 10:12
LAW 2:3                6:8,17                                       1:17 10:5
                                           perjury 10:12
Lawrence 5:12          7:3,9,15,21                                Reider 2:3 3:3
                       8:1,7,12,18,2       place 10:6               5:8,23
laws 10:12
                       5 9:6,12,17         placed 8:3               6:2,10,13,18
                       10:10,11                                     7:4,10,16,22
      M                                    Plaintiffs 1:8
                     Notary 1:17                                    8:2,8,13,19
made 10:8                                    2:2
                                                                    9:1,7,13,22
Madison 2:9          notes 10:10           Please 5:9
                                                                  related 6:16
Marcantonio          November 5:14         point 9:13,16
                                                                  relative 10:10
  1:15 3:2                                 previously
  5:1,4,10                 O                                      REPORTED 1:24
                                             7:11
  6:3,20 7:5         oath 10:7                                    Reporter 1:17
                                           privilege 6:11
  9:24               object 5:19                                    10:1,5
                                           Procedure 1:16
Marcantonio's          6:6                                        represented
  6:19                 7:7,13,19,24        proceedings              5:15
MARKED 4:3             8:5,10,16,23          10:6
                                                                  review 10:9
                       9:4,10              Professional
Mary 1:17,25                                                      RICHARD 1:5
                     objecting 6:10          1:17 10:5
  2:4 10:5,21                                                     rights 5:20
                     objection             propounded
me 10:6,7,8                                                         6:7,16
                       6:14,15               10:7
Medical 1:18                                                        7:3,8,14,20,2
                     objections            Public 1:17              5
  6:4
                       10:8                put 10:7                 8:6,11,17,24
MIAMI-DADE 2:3                                                      9:5,11
                     OCTOBER 10:14
motion 9:15                                       Q               RISTOW 1:6
                     off 9:22
MURPHY 1:5                                 question               RIVERS 1:5
                     OFFICE 2:3,7
my 5:19 6:6                                  5:21,24
                     okay 5:17                                    ROBERT 1:5
                                             6:8,17
     Case: 3:17-cv-00823-wmc Document #: 51 Filed: 11/06/18 Page 8 of 8

              Marcantonio, Frank    09-25-2018        Page 4 of 4
ROGER 1:6            Suite 2:4,9,12       transcribed            whether 5:25
Room 1:18            supervision            10:9                 which 10:6
RPR 1:25 10:21         8:21               transcript             WI 2:9
                     suspend                10:9,10
Rules 1:16                                                       WILLIAM 2:3
                       9:14,16,17         true 10:9,13
                                                                 willing 8:20
      S              suspended 1:19
                                                U                  9:2,8
SALVADOR 1:6           9:24
                                          U.S 2:6                Wisconsin
Schiller 8:22        sworn 5:6
                                                                   1:1,18,19 2:8
                                          under 1:16 8:3
  9:3,9                                                            5:12 10:3,13
                            T               10:7,12
see 9:18                                                         witness 1:16
                     taken 1:16           Understood
September 1:19                                                     2:10 3:2
                       10:6,10              9:20
  5:2                                                              5:5,22 6:5,9
                     talk 9:18            UNITED 1:1,10            10:7
set 10:6                                    2:7,8 10:2
                     talked 6:24                                 would 6:23 7:1
shorthand                                 us 9:19
                     terminating
  10:10
                       9:17                                            Y
similarly 1:7                                   V                Yes 5:16 6:1
                     testified 5:6
situated 1:7                              VA 1:18 6:4
                     testify 7:18                                you
SMITH-WILLIAMS                            Veterans 1:18            5:11,13,15,17
                     testimony 10:7                                6:3,10,20
  1:5
                     Thank 5:11,13              W                  7:5,11,17,23
state 1:17 5:9
                                          waived 10:9              8:3,9,14,20
  8:3                Thanks 9:21
                                                                   9:2,8
statements           that 6:23            wants 9:19
                                                                 your 5:9,11,13
  10:8                 10:6,7,9,10,1      Washington
                                                                   6:20 8:21
STATES 1:1,10          3                    2:9,13
                                                                 you're 5:23
  2:7,8 10:2         thereafter           we 6:24
stenographical         10:9               were 6:3
  ly 10:8            therein 10:6           10:6,8
still 6:15           THEREUPON 5:3        we're 9:18,22
Street 1:18          this 9:13,16         West 2:9
  2:4,12               10:14              Western 1:1
subject 7:5,11       time 10:6,8            2:8 10:3
substantive          today 5:15           what 9:19
  7:1 8:21             6:21               what's 6:13
  9:2,8              Tomah 1:18,19
                                          Whereupon 9:23
SUHR 1:6               5:12 6:4
